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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION
HOUSSAIN KETTANI,
                 Plaintiff,                                    Case No: 8:18-CV—1205-MSS-JSS
v.
FLORIDA POLYTECNIC UNIVERSITY,                                 Honorable Mary S. Scriven
                 Defendant.
______________________________/


                              PLAINTIFF’S INITIAL DISCLOSURES
        COMES NOW Plaintiff Houssain Kettani, by and through the undersigned counsel, and

pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure, and files this initial disclosure

as follows:

     1. The name and, if known, the address and telephone number of each individual

        likely to have discoverable information – along with the subjects of that information

        – that the disclosing party may use to support its claims or defenses, unless the use

        would be solely for impeachment:

              1) Houssain Kettani, 2528 Ladoga Dive, Lakeland, FL 33805, (601) 955-4351,

                 Plaintiff has a detailed account of facts alleged in complaint;

              2) Mark Mroczkowski, VP CFO Florida Polytechnic University, 4700 Research

                 Way, Lakeland, FL 33805, (800) 585-7659. Subject: The treatment of Dr. Kettani

                 at the University, the University’s stance on minorities, and the Provost’s prior

                 history of dealing with minorities in the University community where he formerly

                 worked. Other subjects to be added with ongoing discovery.


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        3) Richard Matyi, Associate Professor Mechanical Engineering and President of

           Union for Florida Polytechnic University, 4700 Research Way, Lakeland, FL

           33805, (800) 585-7659. Subject: The treatment of Dr. Kettani at the University,

           the University’s stance on minorities, and the Provost’s prior history of dealing

           with minorities in the University community where he formerly worked. Other

           subjects to be added with ongoing discovery.

        4) Karim Elish, Associate Professor of Computer Science, 4700 Research Way,

           Lakeland, FL 33805, (863) 583-9050. Subject: The treatment of Dr. Kettani at the

           University, the University’s stance on minorities, and the Provost’s prior history

           of dealing with minorities in the University community where he formerly

           worked. Other subjects to be added with ongoing discovery.

        5) Sesha Srinivasan, Associate Professor of Physics, 4700 Research Way, Lakeland,

           FL 33805, (863) 583-9050. Subject: The treatment of Dr. Kettani at the

           University, the University’s stance on minorities, and the Provost’s prior history

           of dealing with minorities in the University community where he formerly

           worked. Other subjects to be added with ongoing discovery.

        6) Terry Parker, Executive Vice President and Provost, 4700 Research Way,

           Lakeland, FL 33805, (863) 583-9050. Subject: The treatment of Dr. Kettani at the

           University, the University’s stance on minorities, and the Provost’s prior history

           of dealing with minorities in the University community where he formerly

           worked. Other subjects to be added with ongoing discovery.

        7) Tiffany Dvorske, Success Coach, Academic Success Coach, 4700 Research Way,

           Lakeland, FL 33805, (863) 583-9050. Subject: The treatment of Dr. Kettani at the



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           University, the University’s stance on minorities, and the Provost’s prior history

           of dealing with minorities in the University community where he formerly

           worked. Other subjects to be added with ongoing discovery.

        8) Lauren Willison, Ombudsman, 4700 Research Way, Lakeland, FL 33805, (863)

           583-9050. Subject: The treatment of Dr. Kettani at the University, the

           University’s stance on minorities, and the Provost’s prior history of dealing with

           minorities in the University community where he formerly worked. Other subjects

           to be added with ongoing discovery.

        9) Youssef Al-Nashif, 4700 Research Way, Lakeland, FL 33805, (863) 583-9050

        10) Kevin Calkins, Institutional Research Director, 4700 Research Way, Lakeland,

           FL 33805, (863) 583-9050. Subject: The treatment of Dr. Kettani at the

           University, the University’s stance on minorities, and the Provost’s prior history

           of dealing with minorities in the University community where he formerly

           worked. Other subjects to be added with ongoing discovery.

        11) Rick Maxey, VP Government Relations, 4700 Research Way, Lakeland, FL

           33805, (863) 583-9050. Subject: The treatment of Dr. Kettani at the University,

           the University’s stance on minorities, and the Provost’s prior history of dealing

           with minorities in the University community where he formerly worked. Other

           subjects to be added with ongoing discovery.

        12) Kathryn Miller, Associate Provost, 4700 Research Way, Lakeland, FL 33805,

           (863) 583-9050. Subject: The treatment of Dr. Kettani at the University, the

           University’s stance on minorities, and the Provost’s prior history of dealing with




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            minorities in the University community where he formerly worked. Other subjects

            to be added with ongoing discovery.

         13) Chris Loschiavo, Title IX Coordinator, 4700 Research Way, Lakeland, FL 33805,

            (863) 583-9050. Subject: The treatment of Dr. Kettani at the University, the

            University’s stance on minorities, and the Provost’s prior history of dealing with

            minorities in the University community where he formerly worked. Other subjects

            to be added with ongoing discovery.

  2. A copy – or a description by category and location – of all documents, electronically

     stored information, and tangible things that the disclosing party has in its

     possession, custody, or control and may use to supports its claims or defenses, unless

     the use would be solely for impeachment:

         1) Invitation for Onsight Interviews E-mail

                i. On Council on American-Islamic Relations computer

         2) Pulse Accouncement

                i. On Council on American-Islamic Relations computer

         3) Terry Parker Memo, Re: Examination of Content and Conduct of Dr. Houssain

            Kettani’s Applied Cryptography Courses

                i. On Council on American-Islamic Relations computer

         4) Tiffany Dvorske Incident Report

                i. On Council on American-Islamic Relations computer

         5) Houssain Kettani E-mail Reply to Terry Parker, May 18, 2017

                i. On Council on American-Islamic Relations computer

         6) Houssain Kettani Reponse to Tiffany Dvorske Incident Report, May 18, 2017



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                i. On Council on American-Islamic Relations computer

        7) Matt Bohm E-mail to Houssain Kettani about Scholar Rankings, May 22, 0217

                i. On Council on American-Islamic Relations computer

        8) Houssain Kettani E-mail to Tarry Parker and Nicole Jackson about Scholar

           Rankings, May 23, 2017

                i. On Council on American-Islamic Relations computer

        9) Draft Notice of Harassment by Dr. Matt Bohm

                i. On Council on American-Islamic Relations computer

        10) Houssain Kettani E-mail titled to Tarry Parker and Rick Maxey, June 7, 2017

                i. On Council on American-Islamic Relations computer

        11) Houssain Kettani E-mail on July 31, 2017 titled, “Next step in the resolution of

           complaints”

                i. On Council on American-Islamic Relations computer

        12) Richard Matyi E-mail on August 1, 2017 titled, “Next step in the resolution of

           complaints”

                i. On Council on American-Islamic Relations computer

        13) Document on August 13, 2017 titled, “Resolution to the complaint dated May 16,

           2017, the counter complaint dated May 18, 2017, and incidents associated with

           these complaints”

                i. On Council on American-Islamic Relations computer

        14) Letter to Frank T. Martin by “A concerned Poly employee”

                i. On Council on American-Islamic Relations computer

        15) Houssain Kettani Letter to Trustee Martin



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               i.   On Council on American-Islamic Relations computer

        16) A 122-paged Correspondence File (contains various correspondences)

               i. On Council on American-Islamic Relations computer

        17) A 106-paged Correspondence File (contains various correspondences)

               i. On Council on American-Islamic Relations computer

        18) Florida Polytecnhic University Board of Trustees Non-Discrimination/Equal

           Employment Policy

               i. On Council on American-Islamic Relations computer

        19) Florida Polytecnhic University Board of Trustees Discrimination and Harassment

           Complaint and Investigation Procedures

               i. On Council on American-Islamic Relations computer

        20) Florida Polytecnhic University E-mail for Students as Official Mode of

           Communication Policy

               i. On Council on American-Islamic Relations computer

        21) Florida Polytecnhic University Board of Trustees Confidentiality of Student

           Records and Applicant Records

               i. On Council on American-Islamic Relations computer

        22) Florida Polytecnhic University Student Grievance Process

               i. On Council on American-Islamic Relations computer

        23) Florida Polytecnhic University Board of Trustees Academic Freedom and

           Responsibility Policy

               i. On Council on American-Islamic Relations computer




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        24) Florida Polytecnhic University Board of Trustees Personnel Code of Conduct and

            Ethics

                i. On Council on American-Islamic Relations computer

        25) Florida Polytecnhic University Faculty Assignment of Responsibility

                i. On Council on American-Islamic Relations computer

        26) Houssain Kettani – Summer Contract 2017

                i. On Council on American-Islamic Relations computer

        27) Houssain Kettani Teaching Evaluation 2017

                i. On Council on American-Islamic Relations computer

        28) Florida Polytechnic University Rejection of Settlement Demand, February 8,

            2018

                i. On Council on American-Islamic Relations computer

        29) Houssain Kettani Teaching Statement and Philosophy

                i. On Council on American-Islamic Relations computer

  3. A computation of each category of damages claimed by the disclosing party – who

     must also make available for inspection and copying as under Rule 34 the

     documents or other evidentiary material, unless privileged or protected from

     disclosure, on which each computation is based, including materials bearing on the

     nature and extent of injuries suffered:

        •   Back Pay: approximately $120,000.00 per year for 2.0 years while the case awaits

            trial = $240,000.00.

        •   Front Pay: approximately $120,000.00, anticipating at least 1 year to obtain

            comparable employment.


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           •   Lost Benefits: approximately $25,000.00 of benefits lost for insurances.

           •   Loss or Property Value: Forced sale of home purchased in reliance of future

               employment. It is estimated that Plaintiff will lose approximately $60,000.00 in

               home value so that he relocates to take other employment.

           •   Relocation Costs of approximately $10,000.00 to resettle his family in a new

               location as he moved in reliance on long term tenure track employment with the

               Defendant.

           •   Punitive Damages: as set by the Court due to the egregious acts of the Defendants

               and prior knowledge the administration had of the Provost’s negative history with

               minorities from other universities he worked in.

                                     CERTIFICATE OF SERVICE

       I certify that a true and correct copy of this Plaintiff’s Initial Disclosures has been filed on

September 24, 2018 as follows:

Via USPS Ground Mail to:
Mark Bonfanti
Hall, Arbery, Gilligan, Roberts & Shanle
4987 East Co. Highway 30-A
Santa Rosa Beach, FL 32459
Via E-mail to:
Mark Bonfanti
mbonfanti@hagrslaw.com

Via CM/ECF to:
Mark Bonfanti
Allen, Norton & Blue, PA
Suite 100
906 N Monroe St
Tallahassee, FL 32303
850/561-3503
Fax: 850-561-0332
Email: mbonfanti@anblaw.com

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                                         Respectfully submitted,

                                         /s/ Tark Richard Aouadi, Esq._

                                         Tark Richard Aouadi, Esq.
                                         Florida Bar # 0671223
                                         CAIR FLORIDA
                                         1507 S Hiawassee Rd Suite 212
                                         Orlando, FL 32835
                                         taouadi@cair.com
                                         813-514-141
                                         For the Plaintiff




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